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       EXHIBIT 16
Case 3:17-cv-00072-NKM-JCH Document 457-16 Filed 04/03/19 Page 2 of 2 Pageid#:
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               Boonie Hat
                                                                            (    Follow   )   v
               @don_chump


     @kaplanrobbie @lntegrityforUSA Whatever
     you do, don't look at this.
                David M Parrott
                1 hr· 0

         General Note:
         If you were involved in any altercation in Cville, and you haven't disabled
         your social media, you should do so.
         I know it's a bit late for some folks, obviously. But just in case there's
         anybody out there reading this who's out there who hasn't taken that step,
         do so.
         It doesntt matter if you actually did anything. Everybody's getting a ride
         even if it's totally obvious that they' re not convictable.


         rb Like     CJ Comment                  Share


         0 -~ 13
               Alex McNabb Heh heh heh.
               Like Reply
               Justin Murphy II They pick up someone else?
               Like Reply 1 t
                    David M Parrott No one specifically. But that's a direction they're
                   going with it.
                    Like Rep y      O 1 • 1 hr
                    Justin Murphy II Lovely. Stay safe fam
                    Like • Reply · 1

     11:35 AM - 27 Feb 2018

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